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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION


UNITED STATES OF AMERICA,                  )
                                           ) Case No. 1:08CR00024
                                           )
v.                                         ) FINAL ORDER
                                           )
                                           ) By: James P. Jones
PAUL ALSTON VAUGHN, JR.,                   ) Chief United States District Judge
                                           )
             Defendant.                    )

       For the reasons set forth in the Opinion accompanying this Final Order, it is

ORDERED that the Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28

U.S.C.A. § 2255 is DISMISSED WITHOUT PREJUDICE and stricken from the

active docket of the court. Based upon the court’s finding that the defendant has not

made the requisite showing of denial of a substantial right, a certificate of

appealability is DENIED.

                                             ENTER: June 28, 2010

                                             /s/ JAMES P. JONES
                                             Chief United States District Judge
